Case 1:13-md-02419-RWZ Document 1258-7 Filed 07/10/14 Page 1 of 3

Exhibit 7
Case 1:13-md-02419-RWZ Document 1258-7 Filed 07/10/14 Page 2 of 3

BRANSTETTER, STRANCH €&3 JENNINGS, PLLC

ATTORNEYS AT LAW
227 SECOND AVENUE NORTH

CECIL D. BRANSTETTER, SR. FOURTH FLOOR ASSOCIATES:

C, DEWEY BRANSTETTER, JR. NasHviLte, TENNESSEE 37201-1631 KARLA M, CAMPBELL

RANDALL C, FERGUSON TELEPHONE (G15) 254-8801 ~ FACSIMILE (GI5) 250-3937 BEN GASTEL*

R, JAN JENNINGS * STACEY K. SKILLMAN **

JOE P. LENISKI, IR.

DONALD L, SCHOLES OF COUNSEL:

MIKE STEWART ROBERT E. RICHARDSON, JR. ***

JAMES ©, STRANCH, II]
J, GERARD STRANCH, IV
MICHAEL }, WALL

ALSO ADMITTED IN GA

December 20, 2013 ** ALSO ADMITTED IN KY
*** ONLY ADMITTED IN OH

Chris J. Tardio Via Electronic Mail
C.J, Gideon

Matt Cline

Gideon Cooper & Essary

315 Deaderick Street, Suite 1100

Nashville, Tennessee 37238

Re: New England Compounding Center Litigation, MDL No, 2419
Complaints filed in United States District Court for the
Middle District of Tennessee

Dear Gentlemen:

This letter is in response to your correspondence from December 12, 2013 and December
18, 2013.

In your December 18 letter, you mistakenly claim that I mislead the court as to the status
of your production. My statement to the Court that you have not produced a single document in
response to discovery in this case was completely true. You have not produced those documents.
I have asked you to do so multiple times so that there is no dispute as to the authenticity of the
documents, and so that they are “produced” in this litigation. You have refused to do, just as you
have refused to respond to any discovery.

We view you to be in contempt for failing to meet the production deadline from the
subpoenas issued to your clients.

Judge Boal’s subpoena order compelled you to respond to the subpoenas, and you refused
to do so on the absurd grounds that you are not required to respond twice to discovery
propounded on you. This may be true enough, but you are clearly required to respond at least
once. You have not done so. We will be filing a motion for contempt and to compel with the
Court next week unless we get your commitment to respond to the subpoenas and the non-
duplicative discovery requests immediately.

Case 1:13-md-02419-RWZ Document 1258-7 Filed 07/10/14 Page 3 of 3

Letter to Gideon, Cooper & Essary
October 16, 2013

Page 2
Singerclys
| Y 7S TE L Yo QD Shon.
G4. Puars
A. GERARD STRANCH, IV
Member of PSC and Tennessee Chait .
UE]
oT
Ler
a /
GS/bmec

